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 1       IN THE UNITED STATES DISTRICT COURT             1 APPEARANCES: (all appearing virtually)
           NORTHERN DISTRICT OF ILLINOIS                 2       Mr. Michael Kurtz
 2             EASTERN DIVISION                                  Kurtz & Angenlicht
 3   SEC,                  )                             3       123 West Madison Street
                       )                                         Suite 700
 4           Plaintiff, )                                4       Chiago, Illinois 60602
                       )                                         312.265.0106
 5     vs.               )No. 18-cv-5587                 5       mkurtz@kalawchicago.com
                       )                                         on behalf of 1839 Fund I, LLC.
 6   EQUITYBUILD, INC., et al., )                        6
                       )                                 7   Also Present: (all appearing virtually)
 7           Defendants. )                               8       Mr. Lee Meekcoms
 8                                                               Mr. Robert Jennings
 9          The virtual deposition of JILL MEEKCOMS,     9
10   taken pursuant to subpoena in accordance with the  10
11   Federal Rules of Civil Procedure of the United     11
12   States District Courts pertaining to the taking of 12
13   depositions, taken before PEGGY CURRAN, CSR, CRR, 13
14   RPR, CSR License No. 084-002016, a notary public   14
15   within and for the County of DuPage and State of   15
16   Illinois, taken on Thursday, October 28, 2021,     16
17   commencing at the hour of 10:10 a.m.               17
18                                                      18
19                                                      19
20                                                      20
21                                                      21
22                                                      22
23                                                      23
24                                                      24
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 1 APPEARANCES: (all appearing virtually)                    1             INDEX
 2      Mr. Benjamin Hanauer
        U.S. Securities and Exchange                         2 Witness            PAGE
 3      Commission                                           3 JILL MEEKCOMS
        175 West Jackson Boulevard
 4      Suite 1450                                           4 EXAMINATION
        Chicago, Illinois 60604                                 By Mr. Connor         6
 5      312.886.2542
        hanauerb@sec.gov                                     5
 6        on behalf of U.S. Securities &                       EXAMINATION
          Exchange Commission;
 7                                                           6 By Mr. Hanauer         29
 8      Ms. Jodi Rosen Wine                                  7 EXAMINATION
        Rachlis Duff & Peel, LLC.
 9      542 South Dearborn
                                                                By Ms. Wine          34
        Suite 900                                            8
10      Chicago, Illinois 60605
        312.275.5108
                                                                EXAMINATION
11        on behalf of Kevin B. Duff, Federal                9 By Mr. Kurtz         44
          Equity Receiver for the Estate of                 10 MEEKCOMS DEPOSITION EXHIBITS            FOR ID
12        EquityBuild, Inc., etc.
13      Mr. Kevin Connor                                    11 No. 1             17
        Dykema                                              12 No. 2             22
14      10 South Wacker Drive
        Suite 2300                                          13 No. 3             24
15      Chicago, Illinois 60606                             14 No. 4             34
        312.627.8322
16      kconnor@dykema.com                                  15 No. 5             35
         on behalf of BC57;                                 16
17
        Mr. Max A. Stein                                    17
18      Boodell & Domanskis                                 18
        1 North Franklin
19      Suite 1200                                          19
        Chicago, Illinois 60606                             20
20      312.938.4070
        mstein@boodlaw.com
                                                            21
21        on behalf of cetain investors;                    22
22
23
                                                            23
24                                                          24
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 1       MR. CONNOR: I am Kevin Connor, one of the            1   open. So yes, I had a deposition. It was not a
 2   attorneys for BC57. There are other attorneys here       2   lot of fun, I am going to tell you.
 3   representing other parties that may want to ask you      3       Q Hopefully this will be a barrel of
 4   some questions as well once I am finished.               4   laughs.
 5          Ms. Meekcoms, do you have a copy of your          5            But just to make sure we do this as
 6   driver's license with you?                               6   efficiently as possible, I would like to go over
 7       THE WITNESS: Yes, I do.                              7   some ground rules with you.
 8          (Driver's license shown.)                         8            First as you will see, all of our
 9       MR. CONNOR: Madam Court Reporter, please             9   statements, questions are being taken down by a
10   swear in the witness.                                   10   court reporter. I am going to ask you to please do
11       MR. KURTZ: Kevin, one second.                       11   your best to make sure that I am done asking a
12          Ms. Meekcoms, there appears to be someone        12   question before you start to answer. And I in
13   else in the room with you.                              13   return will do my best to make sure that you've
14       THE WITNESS: My husband is standing here. Is        14   completed your answer before I start talking again.
15   it okay?                                                15       A Okay.
16       MR. KURTZ: That's up to Kevin. I just wanted        16       Q Relatedly, because we do need everything
17   to make sure we knew who it was. It might have          17   to be clear for the record, please try to resist
18   been your attorney.                                     18   the urge to nod or shake your head as a response to
19       THE WITNESS: So it's my husband, Lee                19   a question. Clear verbal answers will give us the
20   Meekcoms.                                               20   cleanest record.
21       MR. MEEKCOMS: I am not an attorney                  21       A Very good.
22       THE WITNESS: Not an attorney. No. No. Just          22       Q Third, if you answer a question, I am
23   my best friend.                                         23   going to assume that you understood it. Please
24       MR. CONNOR: I certainly don't mind if your          24   note that if you don't understand a question or
                                                    Page 6                                                        Page 8
 1   husband is in the room with you. Since you are the       1   would like clarification, you are welcome and
 2   one who is going to be under oath today, we just         2   encouraged to ask me to ask it again in a clearer
 3   need to know what you know.                              3   way.
 4       THE WITNESS: Totally. I understand.                  4       A Okay.
 5       MR. CONNOR: Okay.                                    5       Q Finally, if you need to take a break at
 6               (Witness virtually duly sworn.)              6   any point for water or to make a phone call, that's
 7                JILL MEEKCOMS,                              7   perfectly fine. I only ask that you please answer
 8   called as a witness herein, having been first            8   any question that's before you; then we are happy
 9   virtually duly sworn, was examined and testified as      9   to give you some time to, as I said, to get water
10   follows:                                                10   or whatever you need.
11               EXAMINATION                                 11       A Okay.
12       By Mr. Connor:                                      12       Q Okay. With that we will get started.
13       Q Good morning again, Ms. Meekcoms. Thank           13          First I would like to know a little bit
14   you forgiving us your time.                             14   about your background. Do you have any post high
15           My first question is, have you ever been        15   school education?
16   deposed before?                                         16       A Yes. I went to dental hygiene school as
17       A Yes, I have.                                      17   a registered dental hygienist.
18       Q How long ago was that?                            18       Q Okay. Was that your profession for most
19       A Oh my goodness. It was probably March             19   of your working career?
20   of this year.                                           20       A Yes.
21       Q Can you tell me what that related to?             21       Q Are you still working?
22       A Yes. I had fractured my wrist. I fell             22       A Not as a hygienist, no.
23   at LAX airport. And it was a claim against the          23       Q What do you do now?
24   people at the LAX Airport who left whatever, a door     24       A Actually I assist my husband in a
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 1   property management company that we have.           1    spoke directly with Shaun Cohen. That was part of
 2       Q Okay. Does that involve the ownership         2    the research. And then from, from what I can
 3   of properties in any way or you just help manage    3    recall, he directed us to a David Geldart. And
 4   them?                                               4    I -- then I spoke with David Geldart all about it.
 5       A Ownership and management.                     5    I got emails.
 6       Q How many properties do you own?               6             Those are all in my discovery responses
 7       A Well, I'm an investor in three. Four.         7    and my claim that I answered way back.
 8   Excuse me, four.                                    8         Q Okay. Was Mr. Geldart your contact for
 9       Q What kinds of properties are those, are       9    most of your experience with EquityBuild?
10   they residential, commercial, a mix?               10         A The first round, yes. The first
11       A They are RV parks, mobile home parks.        11    property, which is the Cheltenham Place. I did
12   We do either. But right now they are RV.           12    move onto another one, Juneway, which we will talk
13       Q How long have you been in that               13    about maybe in a year from now.
14   business?                                          14             Anyway. Yeah, he was most -- he was the
15       A Well, I would say five and a half            15    guy. Then there was John Allred because I had some
16   years.                                             16    difficulties with what was going on, and they
17       Q Okay. You mentioned you assist your          17    wanted to keep my money and not pay it back.
18   husband. Can you tell me in basic terms what you 18      Anyway.
19   do in a day?                                       19             But John Allred was another one. But
20       A Yes. We have -- we manage and own five, 20         mostly Dave Geldart, yes.
21   six RV parks. And I work with the onsite managers. 21         Q Okay. So you mentioned that the first
22   I assist them in their duties, hiring, training,   22    contact was by email in 2016. Do you remember at
23   terminating, just whatever comes up so we can      23    what point you made your first investment? And you
24   efficiently run the properties.                    24    said the Cheltenham property was first; is that
                                                 Page 10                                                   Page 12
 1       Q Great. Thank you. I would like to ask          1   correct?
 2   you now about your experience with EquityBuild       2      A Yes, Cheltenham was first. And it
 3   specifically.                                        3   was -- I gave them the money, $50,000 in June of
 4           How did you first come to be involved        4   2016. And it might have been the end of May. I
 5   with EquityBuild?                                    5   would have to pull up all that information right
 6       A Actually my husband received an email          6   now to recollect.
 7   either through LinkedIn. I know I wrote it in my     7      Q That's not critically important. May or
 8   discovery responses. He received an email from       8   June 2016 is fine for now.
 9   Shaun Cohen I think. And he said, hey Jill, this     9      A Right.
10   might be a good thing to invest in. Let me do some  10      Q Then you said you invested in the
11   research.                                           11   Juneway property as well. Do you remember when
12       Q Okay.                                         12   that was?
13       A That was in 2016.                             13      A '17, 2017. I can pull my records right
14       Q Thank you.                                    14   now. I think it was almost a year later, 2017.
15           Okay. Could you tell me -- again, I         15   Early 2017 though. Maybe not a year.
16   know this was your husband's research. To the       16      Q Okay. And at that point -- I know you
17   extent you know without consulting him, do you know 17   mentioned that at a certain point you had to reach
18   what that research entailed?                        18   out to EquityBuild because things were not going
19       A No.                                           19   well. When you invested in the Juneway property,
20       Q Okay. So that was in 2016 your husband        20   were things still going okay with EquityBuild
21   got an email from Shaun; some research was done.    21   regarding the Cheltenham property?
22   Do you know what happened next? Was there a phone 22        A Yes. Everything was fine. It kind of
23   call?                                               23   blew up after that.
24       A Yes. Lee, my husband, called Shaun,           24      Q Okay. Can you tell me -- forgive me if
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 1   it's not clear which loan I'm talking about. Most       1   your property -- you said you owned several RV
 2   of my questions are going to be about Cheltenham.       2   parks. Had you invested in Cheltenham before or
 3   I will do my best to make that clear.                   3   after you invested in those RV parks?
 4        A Okay.                                            4        A I don't own them. I am an investor.
 5        Q Could you tell me your basic                     5   And Cheltenham was first. First.
 6   understanding of the Cheltenham property -- I know      6        Q Okay. And how has your experience
 7   you told me you invested $50,000 -- what your           7   investing in Cheltenham compared to your experience
 8   understanding and expectation was of what you would     8   investing in those other properties?
 9   get back, how often you would be paid, that kind of     9        A Horrid. Horrid.
10   thing?                                                 10        Q When you invested in, initially invested
11        A Yes. I remember there was a sign-on             11   in the Cheltenham property, did you sign any
12   bonus. There was going to be, as soon as they          12   documentation?
13   closed on the property, there was going to be some     13        A One more time. Please repeat that.
14   interest paid, it was like a bonus for doing this,     14        Q Sure. When you first invested in the
15   of like $1100, something like that.                    15   Cheltenham property, do you recall signing any
16            And then after the sale -- you know,          16   documentation?
17   everything went through; then there would be that      17        A Yes. Yes.
18   bonus. Then monthly I would receive the interest,      18        Q Do you recall what documents you
19   the interest only, with a balloon payment down the     19   signed?
20   road, of making up the 50,000.                         20        A Okay. Well, I signed a bunch because
21            And the payment was somewhere around          21   it's with a custodian. It's with my IRA,
22   1100, I'm pretty sure per month.                       22   self-directed IRA. So I signed a whole bunch of
23            Again, I didn't pull these documents up,      23   documents with them. And along the way -- that was
24   but I can.                                             24   the first set. There was nothing else until closer
                                                  Page 14                                                      Page 16
 1        Q That's okay. Just your best                  1       to when they were going to close.
 2   recollection is fine for now.                       2               I did get through Docusign, I got forms
 3        A Okay. So anyway, that happened. There        3       to sign. And I did. And they went off to
 4   was a little -- I will tell you this. That the      4       EquityBuild to the proper person from what I
 5   closing really, really took a long time. And I was  5       know.
 6   on the phone with David Geldart on many -- several 6            Q You mentioned this was done through your
 7   occasions.                                          7       IRA. Do you know the name, is that an iPlan or is
 8           And I remember I was living in Florida      8       it by another name?
 9   at the time. And I was at a Wal-Mart parking lot,   9           A It's a self-directed IRA through Entrust
10   and I was ready to pull the plug because they      10       Group.
11   weren't closing. And I had given the money, was 11              Q Through Entrust Group.
12   waiting, okay, let's go, let's go. And he said, it 12               You mentioned they were the custodian.
13   will happen, it will happen, don't worry about it, 13       Can you explain to me a little bit about what that
14   it's happening. We have some final things to do. 14         role entails?
15           And it was at that point I felt it was     15           MR. HANAUER: Objection; foundation.
16   something, just something was not right. But then 16            THE WITNESS: Pardon me.
17   they closed and it was fine.                       17           MR. CONNOR: I will reask the question.
18           So I calmed down and okay. And the         18           By Mr. Connor:
19   payments came in regularly.                        19           Q As the custodian for your investment,
20        Q Okay. So this was early 2017. It            20       did IRA send -- your IRA, Entrust, did they send or
21   sounds like --                                     21       receive communications to you or from you?
22        A No. No. Oh, wait a minute, go ahead.        22           A Yes.
23        Q Juneway was early 2017. Forgive me.         23           Q Were they your primary point of contact
24           Can you tell me where in relation to       24       with regards to the loan or did you speak to
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                                                   Page 17                                                     Page 19
 1   EquityBuild directly?                                    1       A Do I recall seeing the document?
 2        A Entrust was my primary contact.                   2       Q Yes.
 3        Q If you had an issue with your loans, for          3       A I sure do. I have it in my file. I
 4   example, you didn't receive your monthly payment,        4   submitted it a few times because I have been
 5   would your first contact be to Entrust or to             5   requested to show all kinds of documents that I
 6   EquityBuild?                                             6   have. Yeah. I recollect that document.
 7        A EquityBuild.                                      7       Q Thank you.
 8        Q We spoke a moment ago about documents             8           Ms. Court Reporter, we are going to mark
 9   that you received and signed in relation to your         9   this as Exhibit 1.
10   loan. I would like to share my screen now for just      10       THE WITNESS: Great.
11   a moment.                                               11       By Mr. Connor:
12                (A document was marked as Meekcoms         12       Q I am going to show you another document
13                 Deposition Exhibit No. 1 for              13   in just a moment. I will reshare my screen.
14                 identification.)                          14       MR. HANAUER: Excuse me. Counsel, you may
15        By Mr. Connor:                                     15   want to get some foundation. The document appears
16        Q Ms. Meekcoms, do you see the document            16   to be unsigned. Are you going to follow-up on
17   before you labeled mortgage?                            17   that?
18        A I do.                                            18       MR. CONNOR: Yes. I am not authenticating the
19        Q Can you still see it okay?                       19   document. I am just trying to use it to jog her
20        A Yes.                                             20   memory.
21        Q Great. Up here at the top it says this           21       MR. KURTZ: There is still a foundational
22   mortgage is given on June 29, 2016. The mortgagor       22   issue. It doesn't demonstrate that it's actually a
23   is EquityBuild. And then if you will follow me a        23   document that she has knowledge of and that she
24   little further down, at the end of the first            24   executed.
                                                   Page 18                                                     Page 20
 1   paragraph, it says, For this purpose, borrower does 1            MR. CONNOR: Okay. I suppose we can go back.
 2   hereby mortgage, grant and convey to lender the     2        All right. I will pull up that document one more
 3   following described property located in Cook        3        time.
 4   County, Illinois. There is a PIN number. Which      4            THE WITNESS: While you are doing that. I
 5   has the address of 3074 East Cheltenham Place,      5        would like an introduction to the people that are
 6   Chicago, Illinois 60649.                            6        actually speaking so I know. Can you tell me who
 7           Is this the property in which you           7        the gentlemen are that were speaking just now, who
 8   invested?                                           8        they represent?
 9       A Yes.                                          9            MR. HANAUER: Good morning, Ms. Meekcoms. My
10       Q Then I am going to scroll down a little      10        name is Ben Hanauer. I represent the SEC, which is
11   further. If you want me to slow down so you can    11        the plaintiff in this lawsuit.
12   read these passages, please do. Let me know.       12                And when you heard me speaking, I was
13       A That's fine.                                 13        objecting to questions by Mr. Connor. And I will
14       Q I got a little ahead of myself.              14        probably have some questions of my own to ask you
15           If you come back to the second             15        when he is done talking to you.
16   paragraph, it says, This security instrument is    16            THE WITNESS: Thank you.
17   given to the persons listed in Exhibit A to the    17            MR. KURTZ: My name is Michael Kurtz. I am an
18   mortgage.                                          18        attorney for 1839 Fund I, LLC, which is another
19           Then if I scroll down, we will get to      19        investor/lender in the same process as you with
20   Exhibit A. Entrust Group for the benefit of Jill   20        respect to properties in this tranche.
21   Halverson.                                         21            MS. WINE: Ms. Meekcoms, I will introduce
22           That's you?                                22        myself although I haven't spoken. My name is Jodi
23       A Yes, that's me. Yes. That was me then.       23        Wine and I am representing Kevin Duff, the
24       Q Do you recall seeing this document?          24        receiver.
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 1        THE WITNESS: Okay. Thank you.                       1   that had this language on it?
 2        MR. STEIN: Ms. Meekcoms, my name is Max             2      A I thought I gave you all that. I don't
 3   Stein. I am another attorney in the matter. I            3   recall. I am going to be honest, I don't recall.
 4   represent a group of investors.                          4      Q That's fine. Thank you. I apologize if
 5        THE WITNESS: Hi, Max. I see your emails a           5   you did give us that document. I don't think I
 6   lot.                                                     6   have it. I have all of your other documents. I am
 7        MR. CONNOR: I believe everyone has spoken, is       7   not sure we have this one. But we can deal with
 8   that right.                                              8   that later.
 9        By Mr. Connor:                                      9      A Can I ask a question? Is that the
10        Q Ms. Meekcoms, do you see the mortgage            10   exhibit to mortgage?
11   document before you once again?                         11      Q Yes. That is the exhibit.
12        A I do.                                            12      A Okay. That's the one form I don't
13        Q So I believe my last question was                13   have.
14   whether or not -- strike that.                          14      MR. HANAUER: Wait. Objection. Counsel, are
15           This is the same document I showed you a        15   you representing to a pro se witness that this was
16   moment ago. You mentioned that you had submitted        16   an exhibit to her mortgage?
17   this with your claim package.                           17      MR. CONNOR: No. I am sorry. I should
18           Do you recall the contents of this              18   clarify.
19   mortgage? Are you familiar with what it says?           19      By Mr. Connor:
20        A Yes. Yes. Sure. I am.                            20      Q Again that document that I showed you
21        Q Do you recall signing this document?             21   was not part of your mortgage. That was just a
22        A No, I don't recall signing it.                   22   sample I was using to see if you were familiar with
23        Q Okay. Thank you. I am going to stop              23   that language?
24   sharing my screen for a moment. Apologies.              24      A I do understand that. And I have forms
                                                   Page 22                                                   Page 24
 1           I am sharing my screen again.                    1   that look very similar to that. But if you wanted
 2                (A document was marked as Meekcoms          2   to find it as exhibit to mortgage, I'm sorry, I do
 3                 Deposition Exhibit No. 2 for               3   not have that.
 4                 identification.)                           4       Q That's fine. Thank you very much.
 5       By Mr. Connor:                                       5           And Ms. Court Reporter, we are going to
 6       Q Ms. Meekcoms, do you see the document              6   mark that as Exhibit 2.
 7   before you that says lender name at the top?             7           I have one more document for you,
 8       A I do.                                              8   Ms. Meekcoms.
 9       Q You will see that some of the                      9                (A document was marked as Meekcoms
10   information is blacked out here. I will tell you        10                 Deposition Exhibit No. 3 for
11   this is not your document.                              11                 identification.)
12           My question to you is, down here, you           12       By Mr. Connor:
13   will see it says, EquityBuild Finance, LLC, as          13       Q Ms. Meekcoms, do you see the document
14   agent and trustee has been authorized by the above      14   labeled collateral agency and servicing
15   listed lenders to receive the payoff in its name        15   agreement?
16   and issue and execute a release of said mortgage,       16       A Yes, I do.
17   upon full payment of any outstanding balance.           17       Q I will scroll down slowly. If you would
18       A I do see that.                                    18   like me to slow down, please let me know.
19       Q Does this language sound familiar to              19           Does this document look familiar to
20   you? Do you recall seeing it before?                    20   you?
21       A Well, it was on my form because I do              21       A Yes, it does. Wait a minute. It's not
22   have a form like that. And I recall seeing it. Do       22   my document. Maybe it is. I don't know.
23   I understand it? No.                                    23           Is that my document because the wording
24       Q Okay. Do you recall signing a document            24   and the collateral agency and servicing agreement
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 1   is something that I do have for me and I have             1   collateral and servicing agreement that you signed
 2   signed and I presented it to you.                         2   has this language in it, the first two sentences
 3       Q Sure.                                               3   that I quoted?
 4       A Well, to whoever. To someone. To the                4       A I do not recall.
 5   receivership I guess.                                     5       Q Okay. Scrolling down a little further.
 6       Q Sure. And I will scroll down. Forgive               6   Then if you will look at paragraph 9,
 7   me for going quickly. If you want me to stop so           7   sub-paragraph A reads, In its capacity as the
 8   you can see any of this.                                  8   servicer, EBF shall; A, issue payment coupons or
 9       A No. No. I know this form.                           9   monthly statements to the borrower directing loan
10       Q Okay. You will see down here it says               10   repayment to the lenders or the servicer; B, issue
11   under lender, this is Entrust Group for the benefit      11   payoff demands, beneficiary statements and mortgage
12   of Jill Halverson at                         ?           12   ratings.
13       A                 . Yes.                             13           Do you see that language?
14       Q Excuse me,                  .                      14       A I do.
15            Is that you?                                    15       Q Do you recall whether the servicing
16       A That's me.                                         16   agreement that you signed had that language in
17       Q Do you recall seeing this document or a            17   it?
18   document with these terms -- excuse me, I should         18       A I do not recall.
19   back up.                                                 19       Q Thank you very much. I will stop
20            Or a document called the collateral             20   sharing my screen now.
21   agency and servicing agreement with relation to          21           Give me just a moment.
22   your loan at the Cheltenham property?                    22           Ms. Meekcoms, do you recall whether your
23       A Well, do I recall on 6/29/2016. No, I              23   loan or any of your loans with EquityBuild were
24   don't recall.                                            24   part of a rollover?
                                                    Page 26                                                      Page 28
 1        Q Okay.                                              1       A No, I don't recall. No.
 2        A Now, yes, I know, I have seen it. I do             2       Q Do you recall whether in exchange for
 3   have it. But I don't recall that, no.                     3   your -- excuse me -- as part of your investment,
 4        Q Okay. I am going to scroll down a                  4   EquityBuild granted you equity in any kind of an
 5   little bit to paragraph C here, where it says, The        5   LLC?
 6   lenders desire that EBF act as the collateral agent       6       A I don't recall.
 7   for and on behalf of all the lenders regarding the        7       Q Okay. That's fine.
 8   collateral.                                               8           Do you recall at any point receiving
 9             You mentioned a moment ago that not             9   from EquityBuild any kind of a notice, maybe a
10   necessarily this document, but that you do have a        10   notice of default?
11   collateral and servicing agreement, correct?             11       A No. I don't recall. I don't recall.
12        A Yes.                                              12   Never mind. I don't recall.
13        Q Do you recall whether your collateral             13       Q That's fine. Thank you. If you don't
14   and servicing agreement has this language that I         14   recall, that's fine.
15   just quoted to you in paragraph C in it?                 15           What does EquityBuild Finance mean to
16        A I don't recall.                                   16   you?
17        Q Okay. Scrolling down to paragraph 2,              17       A Let's see. I think it represents a
18   sub-paragraph A, where it says, the lenders hereby       18   finance company, an LLC that they formed to finance
19   appoint and designate EBF as collateral agent on         19   these properties. That's my understanding.
20   their behalf hereunder and under the mortgage. The       20       Q Ms. Meekcoms, did you ever receive a
21   lenders hereby also appoint and designate EBF as         21   notice from EquityBuild that someone wanted to
22   the loan servicer with respect to the loan.              22   payoff your loan?
23             Again I understand you don't recall this       23       A No, I never received that.
24   particular document, but do you recall whether the       24       Q Okay. Do you know if someone did want
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                                                   Page 29                                                       Page 31
 1   to payoff your loan, who would send you a notice or      1   interest in that property without your
 2   how you would receive notice of that?                    2   permission?
 3       A No. I don't know.                                  3       A No, I did not know that.
 4       MR. CONNOR: Those are all the questions from         4       Q Would you ever have allowed EquityBuild
 5   me. Thank you very much for your time,                   5   or EquityBuild Finance to release your interest in
 6   Ms. Meekcoms.                                            6   the Cheltenham property without your permission?
 7       THE WITNESS: Thank you.                              7       A No. No. Jesus.
 8                EXAMINATION                                 8       Q Did you know that EquityBuild or
 9       By Mr. Hanauer:                                      9   EquityBuild Finance was actually refinancing the
10       Q Good morning again, Ms. Meekcoms. Again           10   Cheltenham property?
11   I am Ben Hanauer. I represent the SEC in this           11       A You mean the Ponzi scheme. No, I did
12   case.                                                   12   not.
13       A Okay.                                             13       Q Would you have given EquityBuild or
14       Q So when you invested with EquityBuild in          14   EquityBuild Finance permission to refinance the
15   the Cheltenham property, did you understand that        15   Cheltenham property without paying back your
16   your investment was secured by a mortgage?              16   investment?
17       A No.                                               17       A No.
18       Q Did you understand that your investment           18       Q Did you actually receive any payment in
19   was secured in any way?                                 19   connection with the Cheltenham property being
20       A Yes. Yes, I did. I don't know how.                20   refinanced?
21       Q So I guess going back to my first                 21       A No.
22   question. Do you remember when Mr. Connor, I think      22       Q How much money did you lose through your
23   it was Exhibit 1, actually showed you a mortgage?       23   investment in EquityBuild?
24       A Yes, he did show a mortgage. I did                24       A Well, the 50,000 that I invested
                                                   Page 30                                                       Page 32
 1   remember that, yes.                                      1   initially. And I think there is an additional
 2       Q Okay. That was a mortgage and you were             2   14,000 in interest that has not come my way, which
 3   part of that mortgage, right?                            3   was in the whole agreement, contract, whatever you
 4       A Yes, I guess so. Yes. Yes.                         4   want to call it.
 5       Q I am just getting -- what is your                  5        Q So you --
 6   understanding of what that meant, that you were          6        A 64,000, 65,000.
 7   part of a mortgage in regards to the Cheltenham          7        Q That's what you lost investing in
 8   property?                                                8   EquityBuild, right?
 9       A I am going to be perfectly honest with             9        A Yes. Yes.
10   you, I'm like not understanding a lot of this. I        10        Q How has that --
11   have no understanding. I don't know. I really           11        A And it's adding. We are going to like
12   don't know. I apologize for not knowing. And I'm        12   keep track of all the interest that should have
13   not even going to hazard a guess here. Sorry.           13   been paid. But anyway.
14       Q That's fine.                                      14        Q How has that impacted you and your
15           When you invested with EquityBuild, did         15   family?
16   you understand that you would have some sort of         16        A How has it impacted me. Well, in good
17   interest in the Cheltenham property?                    17   faith, I thought I was investing 50,000 to make
18       A Yes.                                              18   some money for my retirement. I'm actually in
19       Q Okay. And did you ever authorize                  19   retirement age and do need to use my funds that I
20   EquityBuild or EquityBuild Finance to release your      20   have in my IRA to -- for parts of my life, to live.
21   interest in that property?                              21   And it affects that portion of my life. So I now
22       A No.                                               22   have less money.
23       Q Did you know that EquityBuild or                  23            If I would have had the full amount, I
24   EquityBuild Finance actually did release your           24   would have invested, you know, in another -- some
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                                                   Page 33                                                    Page 35
 1   other projects and made more money on it.                1       A No.
 2            It's dead in the water at this point.           2       Q Let me know if that is on the screen?
 3   And I haven't made anything, what, since 2018, when      3       A I can see it.
 4   all this started happening.                              4       Q These are the answers to your discovery
 5            Oh, I will tell you how else it's               5   questions dated July 14, 2021?
 6   impacting. In my IRA, I have to do my required           6       A Sure. Yes, they are.
 7   minimum distribution, and they count that as money       7       Q I am going to scroll down to your answer
 8   that I have in my IRA. And I don't have it. But I        8   to the question, written question No. 6.
 9   still have to pay my RMD, required minimum               9       A Okay.
10   distribution, based on the money that I gave to         10       Q And this is asking about whether you
11   EquityBuild even though they are in receivership.       11   received any payments from EquityBuild on this
12            Am I making sense what I am saying?            12   investment.
13            So that affects me. So more money is           13       A Yes.
14   going out of my IRA because I have to do the            14       Q And your answer was referring to a
15   distribution.                                           15   document called funds received?
16            And actually the 50 grand isn't there.         16       A Yes. I had an attachment to show that
17   50 grand plus more, plus the interest.                  17   the funds did go into my Entrust account, my IRA.
18            So it's just emotionally disconcerting,        18       Q I am going to mark these answers to your
19   especially to be sitting here doing this, when I in     19   discovery request as Exhibit 4.
20   good faith gave $50,000 on this project, that I         20              (A document was marked as Meekcoms
21   really thought was going to be a great project. I       21               Deposition Exhibit No. 5 for
22   never assumed it was going to be anything less than     22               identification.)
23   what I thought.                                         23       By Ms. Wine:
24        MR. HANAUER: Thank you very much, ma'am. I         24       Q Then I will show you Exhibit 5. Do you
                                                   Page 34                                                    Page 36
 1   don't have anymore questions at this time.        1          now see a document that you had funds sent and
 2       THE WITNESS: Okay. Thanks.                    2          received from EquityBuild?
 3                   EXAMINATION                       3              A Yes.
 4       By Ms. Wine:                                  4              Q This appears to be maybe parts of
 5       Q Hi, Ms. Meekcoms. Again my name is Jodi 5              statements you got from the Entrust Group?
 6   Wine and I represent Kevin Duff, the receiver in  6              A I printed them out, yes. They don't
 7   this action.                                      7          send them to me. I have to go get them. Yes, I
 8           I just want to ask you a few questions    8          printed this out.
 9   about the documents that you submitted in this    9              Q Is this the document that shows the
10   case.                                            10          amounts that you received from EquityBuild?
11       A Yes.                                       11              A I need you to scroll down. I don't see
12       Q Do you recall submitting answers to --     12          any payments made. I see that funds were sent
13   responses to discovery questions in July of this 13          out.
14   year?                                            14              Q Do you see here on October 4, 2016 you
15       A I sure do.                                 15          received a payment?
16                (A document was marked as Meekcoms 16               A I do, right.
17                 Deposition Exhibit No. 4 for       17              Q You understood this was a payment from
18                 identification.)                   18          the secured deed you had on the 3074 East
19       By Ms. Wine:                                 19          Cheltenham Place?
20       Q Okay. I am going to show you that          20              A Well, you are bringing a term up, that
21   document on the screen. I am going to ask you to 21          you know, did I understand the secured deed.
22   verify that this is a copy of your answers.      22          Probably glossed right over that. I just looked to
23           Can you see this document on your        23          see, yeah, I got my payment, like they said, the
24   screen?                                          24          interest payment that I was going to receive on my
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                                                  Page 37                                                       Page 39
 1   $50,000 investment.                                     1   question.
 2       Q Okay. And starting -- go to page 6 of             2       A Sorry.
 3   this document. Starting on June 26, 2017, you           3       Q When you said "that one," you are
 4   received payments for the 1700 West Juneway Terrace     4   referring to July 27, 2016, payment in the amount
 5   property?                                               5   of $1350?
 6       A Exactly. Right.                                   6       A Yes. That one.
 7       Q You testified earlier that your interest          7       Q Other than the interest payments and
 8   payments were $1100 a month?                            8   this bonus, did you receive any other payments from
 9       A Well, they weren't. I mean, initially             9   EquityBuild in relation to the 3074 Cheltenham
10   it was just the one property, 583, and then it         10   loan?
11   came -- you will see this. It went onto 1100           11       A No.
12   because of the Cheltenham and the Juneway. They        12       Q I am going to go back now to your
13   don't really say that here. But they increased.        13   answers to the questions. Do you see back on your
14       Q But that was my question. Do you recall          14   screen, Exhibit 4?
15   that the payments, the interest payments were the      15       A Yes. I am back. I see it. I see the
16   same for both the Cheltenham and the Juneway           16   screen.
17   property, and the amount was $583.33?                  17       Q In your answer to the question No. 10,
18       A I don't recall that they were the same.          18   asking if you claim an interest in a property based
19   I don't recall that they are the same.                 19   upon one or more mortgage loan or loans. And you
20       Q Is it your understanding that the $1166          20   answered no.
21   payment you received monthly after June of 2017 was    21       A I probably should have understood the
22   for both the Cheltenham and the Juneway                22   question better.
23   properties?                                            23       Q Okay. You said earlier that you
24       A Exactly. Yes.                                    24   understood your investment in Cheltenham was
                                                  Page 38                                                       Page 40
 1       Q So when you testified earlier that you         1      secured. Do you remember saying that?
 2   received $1100 a month, that was not just for the    2          A Yes, I did say that.
 3   Cheltenham loan, that was for both the Cheltenham 3             Q And is it your understanding that it was
 4   and the Juneway loan --                              4      secured by a lien on that property?
 5       A That's right.                                  5          A No.
 6       Q -- is that correct?                            6          Q Did you understand that your loan was in
 7       A I actually forgot about the initial 2016       7      first position on that property?
 8   payments.                                            8          A Did I understand that? Can you repeat
 9       Q Okay. Other than those interest                9      that, please?
10   payments -- and I think you referred to a bonus     10          Q Let me back up a little bit.
11   payment earlier?                                    11              Did you understand that you loaned money
12       A Yeah. You can scroll, go back up again,       12      to EquityBuild for this property on 3074
13   and you will see that there was -- before the first 13      Cheltenham?
14   583, there was -- that one. That was a sign-on,     14          A That is my full understanding, yes.
15   sign-on bonus.                                      15          Q And that your loan would be repaid by
16          I would have to read the paperwork again 16          EquityBuild?
17   to recall.                                          17          A Yes.
18       Q By that one you are talking about a July      18          Q Did you understand if your loan was not
19   27, 2016 --                                         19      repaid, that you had a lien on the property that
20       A Yes. Upon closing.                            20      secured the loan?
21       Q -- in the amount --                           21          A Yes.
22       A Yes, that's what happened. They gave me 22                Q Did you understand that that lien was a
23   that.                                               23      mortgage loan?
24       Q If you can just let me finish the             24          A A mortgage, no. Sorry, I didn't.
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                                                     Page 41                                                       Page 43
 1       Q I am going to direct your attention to         1         testimony is in fact that the banks are not in
 2   your answer to question No. 15. The question was, 2            first position?
 3   for each property in this group of properties in     3             MR. HANAUER: Objection. What bank are you
 4   which you assert an interest, state whether you      4         talking about, Jodi?
 5   believe that an interest claimed by any other        5             By Ms. Wine:
 6   person or entity in that same EquityBuild asset is   6             Q Okay. Ms. Meekcoms, I think the problem
 7   not valid or is junior to your interest, and if so,  7         with the questions is, did you even understand that
 8   state the facts and documents that support your      8         there was a bank who had refinanced the loan on the
 9   claim.                                               9         property?
10            Do you see that?                           10             A No. I had no understanding of that.
11       A I do see that.                                11                 And when we can, I need to take a break,
12       Q And you answered that no, you had no          12         please.
13   such belief?                                        13             Q We can take a break right now.
14       A That's correct. That's how I answered         14             A Okay. Thank you. Just five minutes.
15   it.                                                 15         Bathroom, water.
16       Q In your response to the question right        16             Q Okay. We will be back on the record in
17   before, No. 14, you stated that the banks are not 17           five minutes.
18   in first position. I would like you to look at      18                     (A recess was had.)
19   your full answer.                                   19             By Ms. Wine:
20       A That's my understanding. That was my          20             Q Ms. Meekcoms, at the time that you
21   understanding.                                      21         invested in this property, did you understand that
22       Q So do you in fact believe that your           22         there were any other mortgages on the property?
23   interest is superior to the bank's interest and the 23             MR. HANAUER: What property?
24   bank's interest is junior to your interest?         24
                                                     Page 42                                                       Page 44
 1         A Can you repeat that question, please?              1       By Ms. Wine:
 2         MR. HANAUER: Jodi, why don't you split that          2       Q 3074 South Cheltenham. At the time you
 3   up.                                                        3   invested, were you aware that there were any other
 4       MS. WINE: Okay.                                        4   mortgages on the property?
 5       By Ms. Wine:                                           5       A No.
 6       Q Did you understand that your interest                6       Q Was it your understanding that your loan
 7   was superior to the bank's interest?                       7   was the only mortgage on the property, the loan
 8       A Yes. Actually yes.                                   8   that you were a part of, you had a percentage
 9       Q Did you understand that the bank's                   9   interest in?
10   interest was junior to your interest?                     10       A Yes. Yes.
11       A No, I did not understand that. I feel               11       MS. WINE: I don't have any other questions.
12   like I'm double talking here. I apologize.                12   Thank you.
13       MR. HANAUER: Jodi, I apologize, I need to             13       THE WITNESS: Thank you.
14   object. This is a little vague. When you say did          14                EXAMINATION
15   you understand, when are you talking about? When          15       By Mr. Kurtz:
16   Ms. Meekcoms filled out this form?                        16       Q Ms. Meekcoms, just to move things from
17       MS. WINE: I was really just exploring whether         17   lawyer speak to the way you understood this loan.
18   this answer was in fact her belief at this time.          18   Did you understand when you were making this loan
19       MR. HANAUER: At what time?                            19   on the Cheltenham property that if it was sold, you
20       MS. WINE: At the time she filled out the              20   would be paid first, you and the other investors
21   form, as she is testifying today.                         21   involved?
22           Thank you. I will strike the question.            22       A Now or at the time?
23       By Ms. Wine:                                          23       Q Well, let's start with at the time.
24       Q Really all I'm asking is whether your               24       A No, I did not have that thought. I
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                                                   Page 45                                                   Page 47
 1   don't remember having that thought that if it were       1      MR. KURTZ: Okay. No further questions.
 2   sold.                                                    2      MR. CONNOR: Nothing further from me.
 3       Q Okay.                                              3          Anyone else have questions?
 4       A It wasn't -- God, how do I answer this.            4      MR. STEIN: No.
 5   I don't know how to answer this question. Ask it         5      MR. CONNOR: Then that's it, Ms. Meekcoms.
 6   again. Let me see.                                       6   Thank you so much for your time.
 7       Q Okay. At the time that you entered into            7          At this time I am going to ask you
 8   this agreement for the Cheltenham property, was it       8   whether you want to reserve or waive signature.
 9   your understanding that if the property were sold,       9   What that means is, because this is your sworn
10   that money from that sale would be paid to you?         10   testimony, you have the right to review the
11       A Well, yeah. But you know, I don't -- I            11   transcript of what you testified to today. And you
12   never had that thought. But thank you.                  12   can review it to see if there are any errors in
13       Q So at the time when you entered into              13   what was written down.
14   that same agreement with regard to the Cheltenham       14          Now, this is not an opportunity to go
15   property, was it your understanding that if it was      15   back and change testimony. But if you review it
16   refinanced, that the money from that refinancing        16   and see that something was not properly written
17   would be used to pay you?                               17   down, you have the right to correct that. If you
18       A No, it was not my understanding.                  18   want to take that opportunity and review your
19       Q Okay. What was your understanding                 19   transcript, you would reserve signature so that
20   then?                                                   20   you can reserve it until you have done it. Or you
21       A I'm very confused at this point. So               21   can just waive signature and be done with this and
22   let's, I don't know, regroup with that question. I      22   not review your testimony. It's entirely up to
23   don't know how to answer this.                          23   you.
24            What was my understanding. Let's see.          24      THE WITNESS: Okay. Reserve signature.
                                                   Page 46                                                   Page 48
 1   Probably that when they sold the building, they          1    MR. CONNOR: Okay. Then that's all that we
 2   would pay us off. But that isn't actually how I          2 need from you, Ms. Meekcoms. Thank you again for
 3   saw it. I saw it as an investment for so many            3 your time.
 4   years. Okay. I invested 50,000 for what, two             4
 5   years. I don't remember exactly how many                 5
 6   years. And that at the end of that time, I would         6            DEPOSITION CONCLUDED
 7   get my 50,000 and I would have received the              7
 8   monthly interest only payments. And everything           8
 9   would have been smooth and I would have a                9
10   balloon payment at the end of the term of the           10
11   loan.                                                   11
12           I didn't have thoughts about what if            12
13   they sold it in the meantime or what if they -- I       13
14   didn't have thoughts about that. I just knew that       14
15   I thought what I signed was an agreement to pay me      15
16   back 50,000 at the end of the term.                     16
17           So I didn't have an understanding that          17
18   they were going to sell it and that I would get         18
19   paid back.                                              19
20           But if I look at it now, of course that         20
21   makes sense. Yes, they sell it, they pay me the         21
22   proceeds and I don't have this loan any longer. I       22
23   don't have this investment any longer because they      23
24   paid me off.                                            24
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                                                          Page 49                                                    Page 51
 1         IN THE UNITED STATES DISTRICT COURT                       1   counsel.
              NORTHERN DISTRICT OF ILLINOIS
 2                EASTERN DIVISION                                   2         I further certify that I am not counsel
 3   SEC,                     )                                      3   for nor in any way related to any of the parties to
                          )
 4              Plaintiff, )                                         4   this suit, nor am I in any way interested in the
                          )                                          5   outcome thereof.
 5       vs.                )No. 18-cv-5587
                          )                                          6         In testimony whereof, I have hereunto set
 6   EquityBuild, Inc., et al., )                                    7   my hand and seal this 8th day of November, 2021.
                          )
 7              Defendants. )                                        8
 8          I, JILL MEEKCOMS, being first virtually                  9
 9   duly sworn, on oath, say that I am the deponent in
10   the aforesaid deposition, and that I have read the
                                                                    10
11   foregoing transcript of my deposition, consisting              11              ______________________________
12   of pages 1 through 51, inclusive, taken on
13   October 28, 2021, at the aforesaid place and that
                                                                    12              Notary Public
14   the foregoing is a true and correct transcript of              13              DuPage County, Illinois
15   my testimony so given.                                         14              CSR No. 084-002016
16
                _____ corrections were made                         15
17                                                                  16
                _____ no corrections were made
18                                                                  17
19              ________________________________                    18
                  JILL MEEKCOMS
20                                                                  19
21                                                                  20
   SUBSCRIBED AND SWORN TO
22 before me this ______ day
                                                                    21
   of _____ , 2021.                                                 22
23
24 _________________________
                                                                    23
   Notary Public                                                    24
                                                          Page 50
 1 STATE OF ILLINOIS )
                  )SS:
 2 COUNTY OF DU PAGE )
 3
 4        I, PEGGY CURRAN, CSR, CRR, License
 5 No. 084-002016, notary public within and for the
 6 County of DuPage and State of Illinois, do hereby
 7 certify that heretofore, to wit, on the 28th day of
 8 October, 2021, JILL MEEKCOMS personally appeared
 9 before me as a witness in a cause now pending and
10 undetermined in the United States District Court,
11 Northern District of Illinois, Eastern Division,
12 wherein SEC is plaintiff and EquityBuild, Inc.,
13 et al., are defendants, No. 18-cv-5587.
14        I further certify that the said JILL
15 MEEKCOMS was by me first duly sworn to testify to
16 the truth, the whole truth and nothing but the
17 truth in the cause aforesaid before the taking of
18 her deposition; that the testimony given was
19 stenographically recorded in the presence of said
20 witness by me, and afterwards transcribed upon a
21 computer, and that the foregoing is a true and
22 correct transcript of said testimony.
23        I further certify that there were present
24 at the taking of the deposition the aforementioned
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